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                                      UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS SHERMAN DIVISION

 UNITED STATES OF AMERICA                                                §      JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         §      Case Number: 4:18-CR-00103-ALM-CAN(1)
 RICHARD DENVER BELDEN                                                   §      USM Number: 27805-078
                                                                         §      Brian George O'Shea
                                                                         §      Defendant’s Attorney

THE DEFENDANT:
 ☐ pleaded guilty to count(s)
       pleaded guilty to count(s) before a U.S. Magistrate
 ☒ Judge, which was accepted by the court.                       1, 2, 3 of the Indictment
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
 ☐     was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                   Offense Ended        Count

 18 U.S.C. § 2252A(a)(2)(A), 18 U.S.C. § 2252A(b)(1)      Receipt Of Child Pornography                 06/13/2018           1

 18 U.S.C. § 2252A(a)(5)(B), 18 U.S.C. § 2252A(b)(2)      Possession Of Child Pornography              06/13/2018           2

 18 U.S.C. § 2252A(a)(5)(B), 18 U.S.C. § 2252A(b)(2)      Possession Of Child Pornography              06/13/2018           3


The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  February 6, 2020
                                                                  Date of Imposition of Judgment




                                                                  Signature of Judge

                                                                  AMOS L. MAZZANT, III
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  February 7, 2020
                                                                  Date
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                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
420 months. The term consists of 240 months on Count 1, 240 months on Count 2 with 180 months to be served consecutively to
Count 1 and 240 months on Count 3 to be served concurrently to Count 1of the Indictment.

       The court makes the following recommendations to the Bureau of Prisons: The Court recommends that Defendant be
       designated to BOP in North Texas, if appropriate. The Court recommends to the Bureau of Prisons that the defendant receive
 ☒     appropriate sex offender treatment while imprisoned. The Court recommends the Defendant participate in the Inmate
       Financial Responsibility Program at a rate determined by Bureau of Prisons staff in accordance with the requirements of the
       Inmate Financial Responsibility Program.




 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                    ☐     a.m.           ☐   p.m.    on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                     , with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL

                                                                                                 By
                                                                                    DEPUTY UNITED STATES MARSHAL
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                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: twenty (20) years.



                                             MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

 Defendant’s Signature                                                                             Date
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                                SPECIAL CONDITIONS OF SUPERVISION

You must provide the probation officer with access to any requested financial information for purposes of monitoring your
efforts to obtain and maintain lawful employment.

You must participate in a sex offender treatment program, which may include the application of physiological testing
instruments. You must abide by all rules and regulations of the treatment program, until discharged. The probation officer,
in consultation with the treatment provider, will supervise your participation in the program. You must pay any cost
associated with treatment and testing. Should you fail to pay as directed, you must perform 3 hours of community service
for each unpaid session.

You must not have contact of any kind with children under the age of 18 unless supervised by an adult approved by the
probation officer.

You must not purchase, possess, have contact with, or otherwise use any device that can be connected to the Internet or
used to store digital materials, other than that approved by the U.S. Probation Office. You must allow the U.S. Probation
Office to install software on any approved device that is designed to record any and all activity on the device the defendant
may use, including but not limited to capture of keystrokes, application information, Internet use history, e-mail
correspondence, pictures, and chat conversations. You will pay any costs related to the monitoring of their authorized device
and must advise anyone in your household that may use any authorized device in question that monitoring software has
been installed. If you need access to an employer owned Internet-equipped device for employment purposes, you must
advise your probation officer before using the device. The probation officer will ensure your employer is aware of your
criminal history, and you must agree to use the device for work purposes only.

You must not attempt to remove, tamper with, or in any way circumvent the monitoring software.

You must disclose all on-line account information, including user names and passwords, to the U.S. Probation Office. You
must also, if requested, provide a list of all software/hardware on your computer, as well as telephone, cable, or Internet
service provider billing records, and any other information deemed necessary by the probation office to monitor your
computer usage.

You must also refrain from the purchase, possession, or use of digital cameras; digital recorders; or any other type of
recording and/or photographic equipment.

You must not possess or view any images in any form of media or in any live venue that depicts sexually explicit conduct.
For the purpose of this special condition of supervision, the term "sexually explicit conduct" is as defined under 18 U.S.C.
§ 2256(2)(A) and is not limited to the sexual exploitation of children. You must provide the probation officer with access
to any requested financial information to determine if you have purchased, viewed, or possessed sexually
explicit material.

You must submit to a search of your person, property, house, residence, vehicle, papers, computer, other electronic
communication or data storage devices or media, and effects at any time, with or without a warrant, by any law enforcement
or probation officer with reasonable suspicion concerning unlawful conduct or a violation of your conditions of supervision.
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                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                     Assessment                Restitution            Fine       AVAA Assessment*                         JVTA Assessment**
 TOTALS                  $300.00                $3,000.00             $.00                       $.00                             $15,000.00

 ☐ The determination of restitution is deferred until      An Amended Judgment in a Criminal Case (AO245C) will be entered
       after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $3,000.00 to:

         "CINDERBLOCKBLUE" SERIES
         $1,000.00

         "LIGHTHOUSE1" SERIES
         $1,000.00

         "SWEET SUGAR, PURPLE, PINK" SERIES
         $1,000.00

 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $ 18,300.00 due immediately, balance due
        ☐ not later than                                        , or

        ☐ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☐       F below; or

 B      ☒ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or              ☒       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                  over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $300.00 for Counts 1, 2 and
              3 , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of prosecution and
court costs.
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                                  ADDITIONAL FORFEITED PROPERTY



a.Dell laptop computer containing a 240GB PNY hard drive, bearing identifying number
PNY29140000552751002;

b.Black homebuilt tower containing hard drives:

        1.HGST internal 4TB hard drive, bearing serial number LAHE3N3J;

        2.Hitachi internal 4TB hard drive, bearing serial number LAGSAL2H;

        3.HGST internal 4TB hard drive, bearing serial number LAGG9L4J;

        4.HGST internal 4TB hard drive, bearing serial number LAGUHBHJ;

        5.Hitachi internal 2TB hard drive, bearing serial number FA0MD3PD;and

        6.Western Digital internal 6TB hard drive, bearing serial numberWXK1H644WX8D.
